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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division

UNITED STATES OF AMERICA,                             )
                                                      )
                  v.                                  )                 Criminal Case No. 2:20cr56 (RCY)
                                                      )
BROCK BRIAN BEEMAN,                                   )
    Defendant.                                        )
                                                      )
                                                     ORDER
         This matter is before the Court on its own initiative to address three letters sent to the Court

by the Defendant (ECF Nos. 82, 86, 87). Through these letters, the Defendant, acting on his own

behalf, seeks to withdraw his guilty plea, withdraw his current counsel, and proceed pro se. On

June 24, 2021, the Court held a status conference to address the pro se motions filed by the

Defendant. Based upon the representations Defendant made about his mental health in the letters

to the Court, 1 the Court set forth on the record its own motion for a mental competency evaluation

pursuant to 18 U.S.C. § 4241, in which the United States joined. 2

         Accordingly, the Court FINDS that there is reasonable cause to believe that the Defendant

may presently be suffering from a mental disease or defect rendering him mentally incompetent to

the extent that he is unable to understand the nature and consequences of the proceedings against

him or to assist properly in his defense, pursuant to 18 U.S.C. § 4241(a). Therefore, it is hereby

ORDERED that the Defendant be committed to the custody of the Attorney General for a

reasonable period, not to exceed thirty days, for a mental competency evaluation pursuant to 18



1
  For example, the Defendant indicated that “I was not in my right frame of mind on April 13th, 2021 as I wasn’t
taking my mental health meds for mood stabilizer, antiphotic [sic] meladean [sic], etc!,” and “[h]aving a spider in my
brain and it talks to me from time to time and it persecute/deceive me a lot! And was in the process of getting a plea
of incompetent or a possible plea of insanity/mania!” (Defendant’s Pro Se Motion to Withdraw Plea of Guilty, ECF
No. 82 at 10-11.)
2
  Defendant’s counsel was present but did not opine on the Court’s motion given the pending pro se motion to
withdraw counsel.
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U.S.C. §§ 4241 and 4247(b). The evaluation shall be conducted in accordance with 18 U.S.C. §§

4241(b) and 4247(b) and (c), and shall assess the relevant factors under § 4247(c), including

whether the Defendant is “presently suffering from a mental disease or defect rendering him

mentally incompetent to the extent that he is unable to understand the nature and consequences of

the proceedings against him or to assist properly in his defense.”        It shall also assess the

Defendant’s competency to represent himself and the Defendant’s mental health, competency, and

medication status at time of the April 13, 2021 plea hearing, to the extent feasible.         The

psychological report shall be filed with the Court pursuant to the provisions of § 4247(b) & (c),

after which a hearing shall be scheduled.

       Counsel for the parties are directed to contact the undersigned’s courtroom deputy to

schedule a status hearing regarding the competency evaluation, to be conducted the week of

August 2, 2021. Finally, because of the need for a competency evaluation, the pending pro se

motions are TAKEN UNDER ADVISEMENT, and the sentencing hearing in this matter,

scheduled for August 17, 2021, is CONTINUED GENERALLY, and shall be rescheduled upon

further order of the Court.

       The Clerk is directed to send a copy of this Order to all counsel of record.

       It is so ORDERED.


                                                                   /s/
                                                     Roderick C. Young
                                                     United States District Judge
Richmond, Virginia
Date: June 2 , 2021




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